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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
-------------------------------------------------------------------- X

MARK, et al.,

                                  Plaintiffs,                            Case no: 19-cv-2855 (TNM)

                          -against-

THE ISLAMIC REPUBLIC OF IRAN, et al.,

                        Defendants.

-------------------------------------------------------------------- X


                   EXPERT DECLARATION OF ARIEH DAN SPITZEN

        ARIEH DAN SPITZEN declares pursuant to 28 U.S.C. § 1746, as follows:


                                PROFESSIONAL BACKGROUND
        1.       I am an expert in Palestinian affairs and society, including the political, social,

and economic aspects of Palestinian society, the modes of operation of the Palestinian

Authority and the modes of operation and conduct of various Palestinian Islamic terror

groups. This includes Hamas and Palestine Islamic Jihad, with emphasis on the civilian

infrastructures of those terror groups, in particular Hamas, which I have researched over the

course of many years and continue to research.

        2.       I have been researching Palestinian issues in Israel and the territories for

approximately 40 years. I hold academic degrees in the History of Islamic Countries and the

History of the Jewish People from the Hebrew University of Jerusalem where I graduated

with honors.

        3.       From 1976 to 2009, I served in various positions, mostly within the Israel

Defense Forces (IDF), that focused on researching Palestinian Affairs. In 1976, I established

the Research Section of the Advisor for Arab Issues in the Military Government in the West

Bank, which I headed for two years. From 1978 to 1981, I researched the integration of the
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Arab population into Israeli society for Jerusalem’s Van Leer Institute. During this time, I

also published an academic article about Jerusalem’s economy in the 18th Century which was

published in “Cathedra.”

       4.      From 1981 to 1993, I served as Head of the Research Section in the Office for

the Advisor for Arab Affairs in the West Bank and as Deputy Advisor. In these capacities, I

was involved in researching the socioeconomic and political situation of the Palestinian

population while focusing on political and social trends and the prevailing atmosphere. I

supervised a team of approximately ten researchers. During this period, I prepared and

supervised the preparation of hundreds of research papers, staff papers, articles, anthologies,

and studies in Palestinian civilian matters, which were used by high level officials in the

Israeli government and military. All of my writings for the IDF are classified and cannot be

publicly disclosed.

       5.      From 1993 to 1996, I participated in the negotiation between Israel and the

Palestinians of the Oslo Accords and was a member of the team that negotiated the transfer of

civilian powers and responsibilities from the Civil Administration to the Palestinian

Authority.

       6.      From 1998 to 2000, I served in the Civil Administration as Department Head

for Palestinian Affairs in the West Bank at the rank of Colonel.

       7.      From 2001 to 2009, I served as Department Head for Palestinian Affairs in the

Administered Territories, which includes both the West Bank and Gaza, and as the Advisor

to the Coordinator of Government Activities in the Territories (COGAT) at the rank of

Colonel. I reported to the Head of COGAT, above whom were only two people—the

Minister of Defense and the Chief of Staff. In these capacities, I was responsible (among

other things) for supervising the work of IDF research and assessment personnel in various

fields relating to Palestinian Affairs drafting and presenting research and policy papers



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concerning Palestinian affairs and appearing before and providing briefings to senior

governmental and military forums regarding Palestinian affairs. I supervised approximately

50 people. As part of my position I also provided numerous briefings about Palestinian affairs

in Israel to foreign officials. During this time, I became the top authority on the

socioeconomic civilian situation in the West Bank and Gaza and was responsible for writing

hundreds of surveys and studies about civilian conditions, political and social trends, and the

economic atmosphere and its influence and other diverse civilian issues connected to the

civilian Palestinian realm. Naturally, this research overlapped with the military sphere and

the activities of terror organizations such as Hamas. In addition, I was responsible for writing

and updating an annual comprehensive survey regarding the civilian infrastructure of the

Hamas organization—the Da’wa.

       8.       Since my retirement from the IDF, I have continued to serve in the IDF

Reserves as an emergency Department Head for Palestinian Affairs in the Administered

Territories in COGAT. In that capacity, I continue to be fully up to date in all that occurs in

the Palestinian realm, including all matters relevant to the current and recent terror waves,

their different characteristics, the profile of the terrorists, and the influence of the Palestinian

powerbrokers.

       9.       I am currently an independent consultant on the Middle East, particularly

Palestinian Affairs, to government agencies, research institutes, and private parties. I

currently provide advice regarding the socioeconomic and political civilian situation in the

Palestinian Authority controlled territories to the following governmental entities: The

Operation Coordinator in the Administered Territories and the Research Division of the

Intelligence Department. During the last ten years of my IDF service, I also provided advice

to the National Defense Council, Israel Security Agency, and the Mossad.




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       10.      I have been qualified as an expert witness about Hamas in twelve federal civil

terrorism cases in the United States: Linde, et al. v. Arab Bank, Plc (in which I testified

exclusively about Hamas for 5 days in a 6-week jury trial in 2014); Gill v. Arab Bank, Plc;

Strauss, et al. v. Crédit Lyonnais, S.A.; and Weiss, et al. v. National Westminster Bank Plc –

all in the Eastern District of New York; Fraenkel, et al. v. Islamic Republic of Iran, et al.;

Braun, et al. v. Islamic Republic of Iran, et al.; Force, et al. v. Islamic Republic of Iran, et

al.; Schwartz et al. v. Islamic Republic of Iran, et al; and Henkin, et al. v. Islamic Republic of

Iran, et al. – all in the District of Columbia; Weinstock, et al. v. Islamic Republic of Iran, et

al.; Weinstock, et al. v. Mousa Mohammed Abu Marzook; and Weinstock, et al. v. Hamas – all

in the Southern District of Florida. I also served as an expert consultant to the plaintiffs’ trial

team in Sokolow, et al. v. Palestine Liberation Organization, et al., Case No. 04-0397

(S.D.N.Y.)

       11.      Additionally, I have served as an expert witness in the area of Palestinian

affairs in dozens of civil and military cases in Israel, including in the Israeli Supreme Court.

       12.      During my last 10 years in the IDF, I was a frequent participant and lecturer

on the issue of Palestinian affairs at symposiums, conferences, seminars, and other academic

meetings sponsored by Israeli universities and research institutes. I continue to lecture in

academic settings on occasion.

       13.      I am a regular media commentator for the Israeli press, which classifies me as

an expert in Palestinian affairs and I am often interviewed on Arabic television stations. I

recently appeared on Israel Channel 1’s “A Second Look” on a program titled “The Color of

Terror Money.”1 In addition, approximately once or twice per week, during the last ten years

of my IDF service, I gave both background and in-depth talks to senior Israeli journalists and




       1
           Available at https://www.youtube.com/watch?v=c6Hz2umcymE


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foreign correspondents of the international media in Israel that deal with Palestinian and

military issues.

        14.     I am fluent in Hebrew and Arabic.

        15.     A copy of my CV is attached hereto as Exhibit A.


                        SCOPE OF THIS EXPERT DECLARATION
        16.     I have been asked by counsel for the plaintiffs in the above-captioned case to

provide my professional opinion concerning Hamas’s responsibility for the terrorist shooting

attack in which Eli M. Borochov was injured on November 6, 2015 and for the terrorist

attack in which Yoav and Rotem Golan were injured on December 14, 2015.

        17.     My opinion in this case is based on my academic studies, research, and IDF

military service over the course of many years in which I specialized and continue to

specialize in Palestinian affairs and Palestinian terrorist organizations such as the Palestine

Islamic Jihad and Hamas. During my 40 years researching Palestinian affairs, I have obtained

information from numerous sources, many of which are classified. These sources include

interviews with government officials and reliable journalists, reviews of publicly available

documents, periodicals, credible news reports, government publications and scholarly works.

        18.     Moreover, in preparing this report I examined the complaint in the above-

captioned case, the Israeli police files relevant to this attack, and other relevant court files.


                            HAMAS GENERAL BACKGROUND
        19.     Hamas was founded in Gaza in December 1987, around the time when the

violent events known as the ‘First Intifada’ broke out. The founders of Hamas were Sheikh

Ahmad Yassin, who headed the Muslim Brotherhood in the Gaza Strip, and six other

members of that organization.2 The name “Hamas” is an Arabic acronym for “The Islamic


        2
        The Muslim Brotherhood is a fundamentalist Islamist organization founded in Egypt
in 1928 by Hassan al-Banna. The organization hoped to reconstitute Muslim society in the


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Resistance Movement” (Ḥarakat al-Muqāwamah al-Islāmiyyah). As a word, “Hamas” in

Arabic means zeal (as in battle) or heroism.

       20.     On August 18, 1988, Hamas published its charter, which defines the

organization’s goals and its ideological identity. In this charter, the organization stated that it

saw itself as a branch of the “Muslim Brotherhood” in Palestine. The implementation of the

Hamas Charter would mean establishing a fundamentalist Islamic state on the ruins of the

State of Israel. In the organization’s view, Israel has no right to exist and would inevitably

disappear. As soon as Hamas was founded, the organization commenced a campaign of

armed terror in pursuit of that goal.

       21.     Hamas has maintained that stance throughout its history, and its leaders would

frequently repeat their goal and ambition to eliminate Israel.

       22.     In December 2012, Hamas leader Khaled Mash’al, during his visit in the Gaza

Strip, stated the following: “… Palestine—from the [Jordan] River to the [Mediterranean]

Sea, from its north to its south, is our land, our right, and our homeland. There will be no

relinquishing and no forsaking even an inch or small part of it… Palestine was, continues to

be, and will remain Arab and Islamic”. “The true statesman is born from the womb of the

rifle and the missile.” And he added: “O Palestinian statesmen, O Arab and Muslim

statesmen, learn your lesson from Gaza. Anyone who wishes to take the path of diplomacy

must take a missile along with him.”3

       23.     Many senior officials of the Hamas movement who attended the rallies held

on December 14, 2014 to mark the 27th anniversary of the founding of Hamas, reiterated that

spirit of ancient Islam and eventually to establish a large Islamic state that would expand
Muslim rule into the rest of the world through jihad (holy war). The Muslim Brotherhood’s
extremist Islamic ideology, along with its physical civil and religious infrastructure, served as
the basis for the founding of Hamas in December 1987.
       3
        See the video on the MEMRI website: https://www.memri.org/tv/hamas-leader-
khaled-mashal-we-will-not-relinquish-inch-palestine-river-sea


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Hamas would never recognize the Zionist entity nor a Palestinian State within the 1967

borders and called for the continuation of jihad and resistance until Palestine is liberated in its

entirety, from the river to the sea.4

        24.      Mahmoud a-Zahar, a senior Hamas official in the Gaza Strip, said in May

2017 that not an inch should be conceded from the land of Palestine and its holy places.

According to him, it is compulsory to defend the holy places and to continue efforts toward

complete liberation [of Palestine].5

        25.      Hamas is a terrorist organization that combines terror activity with political

ideology and with wide-ranging social activity. Their goal is to dominate Palestinian society,

manage it, and lead it according to the objectives that Hamas has embraced.

        26.      Today Hamas is the largest and most significant Islamist organization on the

Palestinian scene. Since its earliest activity, the organization has seen itself as competing

against the PLO for leadership (the PLO is the umbrella organization for the Palestinian

factions, but Hamas is not a member of it) and against the Fatah organization in the

Palestinian arena, as well as providing an Islamic sociopolitical alternative to those secular

elements.

        27.      As early as the 1990s, Hamas was devoting a special effort to take over the

Palestinian arena. Hamas especially, campaigned in elections within various sectors of

Palestinian society. At the universities, the effort was directed at taking over the student

councils, and Hamas succeeded in most of the West Bank and Gaza universities. For that

purpose, it established its student organization, the “Islamic Bloc” (Al-Kutla al-Islamiya).




        4
          https://www.memri.org/reports/hamas-senior-officials-movements-27th-anniversary
-celebrations-we-will-not-recognize-zionist
        5
            http://www.alquds.com/articles/1494758400814122900/


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That body served to recruit many students to the ranks of Hamas for the execution of terror

attacks in the organization’s name.

       28.     In its quest to dominate the Palestinian arena, Hamas also prioritized taking

over trade unions, commercial organizations, and the bureaucracies that control Palestinian

communications institutions (such as the Palestinian Journalists’ Syndicate). Later, after

consolidating its control over those targets, the organization increased its efforts, and in the

2000s it similarly took over many municipalities in the West Bank and the Gaza Strip. In

2006, Hamas won the general Palestinian Authority elections, attaining a parliamentary

majority, and in 2007 it seized power in a violent coup in the Gaza Strip.

       29.     Another avenue by which Hamas has attained dominance over Palestinian

society is the formation of a broad infrastructure of civil institutions and charitable bodies to

aid the public on the one hand, and on the other hand to strengthen the hold of Hamas over

the population and to cast a broader net for potential activists, to be recruited to its ranks.

This institutional network also helps the organization raise money for its activities, including

terror attacks, above and beyond enhancing its standing in Palestinian public opinion.

       30.     In order to succeed in that task, Hamas has labored to create an image of

reliability, honesty, and attentiveness to public sentiment on the part of the organization and

of its leaders. It has zealously cultivated that image over the years, emphasizing the

distinction between Hamas and its leaders on the one hand, and on the other hand the image

that the PLO and Fatah have acquired power through their leaders’ corruption, their

unreliability, and their deplorable character which is unresponsive to public sentiment.

       31.     Hamas did indeed instill the image it desired for itself into the Palestinian

public consciousness, and that image contributed to Hamas’ success on the way to

domination of the governing bodies and the society under the Palestinian Authority.




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       32.      In the early 1990s as Hamas broadened its sociopolitical influence over

Palestinian society, it also established its operational terror wing, the Izz a-Din al-Qassam

Brigades in two phases; In early 1990, as well as during the second half of 1991 in the Gaza

Strip and then in a second stage, toward summer of 1992, in the West Bank. The Izz a-Din al-

Qassam Brigades are responsible for many terror attacks and murders, for injuries to

thousands of civilians, and for destruction and ruin in many and varied forms such as suicide

bombings, car bombs, explosive devices, shooting from ambush, high-angle fire, and other

tactics such as knifing, ramming with vehicles, and petrol bombing.

       33.      Since its inception, the operational terror wing has always, answered to the

Hamas leadership, with its terror activity over the years instigated and directed by the

organization’s leadership.

       34.      During its years of existence, Hamas has been supported by Syria and Iran,

which furnished a safe location for its leadership, training camps, military knowhow, and

weaponry of various kinds, as well as public-relations backing with ideological support.6

       35.      In September 2017, the leader of Hamas in the Gaza Strip, Yahya Sinwar,

called journalists to his office and told them that Hamas’s relations with Iran were “better

than good” and improving further. Iran, according to him, is the top supporter of the military

wing (the Izz a-Din al-Qassam Brigades) in terms of money and weapons.7




       6
          Abu Ubaida, Hamas’s spokesman, thanked Iran in December 2014, for having
helped Hamas by supplying money, weapons, and missiles to establish the Al-Qassam army,
including the army’s many advanced units. http://bit.ly/2AFCf7Q. See also: http://www.
haaretz.com/israel-news/.premium-1.632943
       7
           https://www.amad.ps/ar/?Action=Details&ID=189079


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       36.     Hamas was classified as a Specially Designated Terrorist organization (SDT)

by the U.S. Treasury as long ago as 1995, and in 1997 it was classified as a Foreign Terrorist

Organization (FTO) by the U.S. State Department.8

       37.     The Israeli government declared Hamas a terrorist organization in June 1989.9


A.     The Hamas policy of claiming responsibility for attacks
       38.     Hamas has pursued over the years, and continues to pursue, a calculated and

intentional policy of claiming responsibility for its terror attacks. This policy is based on a

number of guiding principles that can be understood from the organization’s record of

announcements over the years based on their timing, reliability, and explicit public

statements of various senior Hamas officials revealing, from time to time, a glimpse of the

Hamas policy regarding claims of responsibility for attacks.

       39.     One of the fundamental principles guiding Hamas in its policy of claiming

responsibility for attacks is to maintain the organization’s credibility, which as noted above is

a prime asset of the organization.

       40.     In order to understand the care and caution that Hamas exercises in claiming

responsibility for attacks, it is important to take into account that in the West Bank and the

Gaza Strip, the Palestinian society lives and functions in social frameworks where the

proximity between people is intimate and their ability to keep secrets, certainly over the long

term, is limited. Neighbors know one another. Living within a nuclear family, an extended

family (or hamulah), and a village or urban neighborhood, one has little opportunity to

conceal political views or affiliation to organizations or social groups.


       8
          U.S. Treasury (1995), available at https://www.treasury.gov/resource-center/
sanctions/SDN-List/Documents/sdnew95.txt; U.S. Department of State, Foreign Terrorist
Organizations, available at https://www.state.gov/j/ct/rls/other/des/123085.htm.
       9
          Israel Ministry of Defense, available at http://www.mod.gov.il/Defence-and-
Security/Fighting_terrorism/Pages/default.aspx.


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       41.       The phenomenon is particularly obvious when someone is killed in the course

of an attack or is arrested for terrorist activity. Generally, when the terrorist’s identity

becomes known so does the terrorist’s organizational affiliation and, therefore inevitably, the

organization’s responsibility for the attack committed.

       42.       If a claim of responsibility is false, it is exposed rather quickly and the long-

term damage to the organization’s reputation may be severe, involving a cost that the

organization would rather not pay in the political and public spheres.

       43.       This social reality requires the Palestinian terror organizations, including

Hamas first and foremost because it greatly values its credibility, to refrain from claiming

“credit” for attacks and terror operations for which the organization is not responsible. At the

same time, Hamas nonetheless has made, and makes, a practice of praising operatives from

other organizations when they mount attacks that suit its ideology.

       44.       During the period relevant to this Expert Opinion, Hamas used a number of

methods for claiming responsibility after attacks:

             •   Spokesmen for Hamas and for the Izz a-Din al-Qassam Brigades published
                 announcements in the media;
             •   Posters from Hamas and the Izz a-Din al-Qassam Brigades were distributed
                 throughout the territories and on websites;10
             •   Names of terrorists who were killed while mounting attacks, or who were
                 arrested afterward, were at times (but not always) posted on the Hamas and
                 “Brigades” websites;
             •   Various symbols and other Hamas characteristics were attached to the homes
                 of the terrorists and displayed during their funerals.

       45.       For announcing a terrorist’s organizational affiliation during the wave of terror

that began in 2014, the phrasing Hamas adopted was “the son of the movement” or “the

Qassami martyr” (that is, one belonging to the Izz a-Din al-Qassam Brigades). In this way


       10
          A number of examples of posters distributed by Hamas saluting terrorist attackers
can be seen in a survey published by the Meir Amit Intelligence and Terrorism Information
Center in Tel Aviv: http://bit.ly/2jovNya


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Hamas distinguished the terrorist from others whose deeds found favor with Hamas but who

did not belong to the organization.

       46.     To strengthen the principle of maintaining credibility, Hamas added further

rules regarding claims of responsibility. These rules deal mainly with the timing of the actual

announcements that claim responsibility, claims that sometimes are delayed for months or

even for long years.

       47.     A press conference in the Gaza Strip on December 25, 2010, is an example

that exposed a glimpse of the principles guiding the organization’s timing for announcing a

claim of responsibility for a terror attack mounted by its activists.11 The man known as Abu

Ubaida, who is considered the official spokesman of the Izz a-Din al-Qassam Brigades, spoke

to the press. In the name of the organization, he belatedly took responsibility for the attack

mounted at the Merkaz HaRav Yeshiva in Jerusalem some two years before.12

       48.     Abu Ubaida explained the Hamas policy for belatedly claiming responsibility.

He said that during the years that the “Brigades” have been active against the occupation they

have at many times employed a policy of postponing the claim of responsibility for attacks

and he cited these reasons: The security conditions with respect to the security of fighters and

of operations; the protection of those who carried out attacks and who are currently jailed

prior to sentencing; and other reasons connected to the continuing campaign of Jihad (holy

war). In the future, according to him, the Brigades will refrain from announcing information

about their attacks before the time is ripe, and on occasion that may mean months or years.




       11
            A spokesman for the Izz a-Din al-Qassam Brigades held a press conference in
Gaza, and there he spoke his piece at length. The video shows the press conference:
https://tinyurl.com/y66ykfrm; https://tinyurl.com/9baprspk.
       12
         The Merkaz HaRav Yeshiva in Jerusalem was attacked on March 6, 2008. The
Hamas terrorist, who perpetrated it killed eight people and injured nine more.


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       49.     The Hamas record of claiming responsibility for attacks includes further

examples of refraining from an official claim of responsibility in order not to harm Hamas

operatives, especially those who have yet to stand trial.

       50.     In sum, Hamas, more than other terror organizations, refrains from claiming

responsibility for attacks that were not mounted by its activists. Hamas carefully cultivates

the image of a reliable organization. They see their image as it appears to the Palestinian

public as a primary asset and zealously protect it. Moreover, the unique structure of

Palestinian society in the Gaza Strip and the West Bank makes, in the long term, the

attribution of an attack to a body that did not commit it impossible, the moment a terrorist’s

identity is revealed, the Palestinian public in the territories know of the terrorist’s exact

organizational affiliation.

       51.     Since its inception, Hamas has always preferred long-term credibility over

some brief moments of glory from false attribution of attacks. However, when Hamas finds it

appropriate or beneficial to take credit for attacks that its people performed, it does not

refrain from doing so. When it weighs claiming responsibility for attacks, Hamas obviously

and consciously prefers to protect the operational security of its activists and the details

regarding its various methods of operation, even at the price of years of concealing its

responsibility for attacks.


B.     The 2015–16 wave of Palestinian terrorism in Israel and in Judea and
       Samaria
       52.     Starting in September 2015, Israel, Judea & Samaria were inundated by a

wave of terror that lasted until the end of 2016 or even later.

       53.     In October 2015, the number and intensity of terror attacks increased

significantly against the background of growing incitement from Islamist, elements mainly

Hamas and the Islamic Movement in Israel. They accused Israel of a litany of offenses




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related to changing the status quo on the Temple Mount, including harming the mosques on

the mount, permitting Jewish prayer there and having a long-term Israeli goal of destroying

the Al-Aqsa Mosque and building a Jewish Temple in its stead. Islamic religious emotions

were similarly enflamed a year earlier as well in 2014. The sharp rise in the number of

fatalities was recorded late in 2015 as a result of an escalation of attacks in October.13

       54.       The Jewish high holidays, which are celebrated in September and October,

bring an increased presence of Jews in the Temple Mount area. Islamic elements, with Hamas

in the lead, exploit this presence in order to stir up emotions and incite attacks with the cry

“Al-Aqsa is in danger!” Such accusations gave a religious motivation to the wave of terror

that followed, with the objective to imbue the Palestinian-Israeli conflict with a religious

character alongside its nationalist character; an objective that is wholly consistent with the

Islamist ideology of Hamas and of Palestinian Islamic Jihad.

       55.       In January 2017, for example, after a vehicular attack in Jerusalem, Hamas

spokesman Fawzi Barhoum encouraged further terror as he declared that “The noble

operation (meaning the attack) was in defense of the holy sites, and particularly of the Al-

Aqsa Mosque.” He said that Hamas praises the operation. The operation, he declared, shows

that the Al-Quds Intifada is continuing, and that Israel’s violent aggressive actions will not

break the Palestinian will to continue the “resistance.”14




       13
          More figures about the 2015 attacks may be found in the annual Israel Security
Agency survey from that time (Hebrew): https://www.shabak.gov.il/publications/
Pages/study/ReportY2015.aspx. According to a relatively recent publication of the Israeli
Ministry of Foreign Affairs about the wave of terror, 64 vehicular attacks were perpetrated
since the wave started: “Wave of Terror 2015 - 2018”, 18 March 2018, Israel Ministry of
Foreign Affairs. http://mfa.gov.il/MFA/ForeignPolicy/Terrorism/Palestinian/Pages/Wave-of-
terror-October-2015.aspx.
       14
            Safa press agency, affiliated with Hamas (January 8, 2017). http://bit.ly/2hwLQcI


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        56.        Hamas websites and other websites identified with the organization presented

articles, interviews, and remarks inciting the continued perpetration of attacks.

        57.        A summary of attacks from 2015 was distributed on Paldf.net, the Hamas

website. It pointed to a sharp increase in the number of stabbing, vehicular, and shooting

attacks from October through December of that year. The terms used to describe the attacks

were favorable and supportive of the wave of attacks, noting for example:

               •   attacks that successfully wounded or killed a Zionist; the effectiveness of
                   attacks being measured in terms of fatalities on each side;
               •   the term kill is relevant to a killed Zionist whereas a Palestinian who is killed
                   is termed shahid (martyr);
               •   attacks being called operations; and the terrorists committing them being
                   called mustash’hidun (“those who died in sanctification of Allah’s name”);
                   and there is, obviously, the heading of the document: “Palestine’s Harvest of
                   2015.”

        58.        All of those statements convey the clear message that Hamas supports and

encourages attacks.15 Senior Hamas leaders made a practice of publicly inciting the

Palestinian population to mount attacks in the form of stabbings, vehicular ramming

attacks,16 and even gunfire to the extent that the attackers were able. In fact, in February

2016, the leader of Hamas at the time, Khaled Mash’al, encouraged the wave of terror

attacks, characterizing them as “heroic operations of the young men and women of the

Intifada.”17




        15
             https://www.paldf.net/files/2015/hasad/files/assets/basic-html/index.html#1
        16
          Cartoons with a clear message in support of the ramming attacks were featured in
the Palestinian social media, among them a cartoon that was published on the pro-Hamas
“Palestine Now” Facebook page: “Last passenger to Jerusalem” (Facebook.com/paltimes.net,
January 8, 2017). See “Following January 8, 2017 Truck-Ramming Attack In Jerusalem”,
MEMRI, Special Dispatch No. 6732, January 9, 2017. https://www.memri.org/reports/
following-january-8-2017-truck-ramming-attack-jerusalem-silence-part-pa-expressions-joy
        17
             http://bit.ly/2AFJcpz


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        59.       Hamas spokesman Sami Abu Zuhri praised the stabbing spree carried out on

March 8, 2016, claiming it showed the Intifada would continue until its objectives had been

realized and that Israel had failed to suppress it.18

        60.       In the course of that wave of terror, Hamas, implemented a new method of

operations alongside its more familiar forms of attack. This is what gave them the ability to

quickly mobilize terror operatives in order to mount attacks. Specifically, alongside the usual

method of direct instructions from Hamas headquarters that would require a system of

approvals, another method was implemented: Overall public calls from the influential

political factors to the organization’s operatives, as well as to all who identify with the course

of violence and terror, to mount attacks. This was accomplished by Hamas leaders sounding

praise and encouragement to the terrorists and their activities, using the media outlets at their

disposal such as radio, television, newspapers, websites and to an extremely large extent-

social networks and social media platforms. Hamas simply introduced, alongside the attacks

that require long advance planning, a call to use whatever comes to hand for terrorism

(knives, vehicles, petrol bombs, guns, makeshift weapons, etc.) as well.

        61.       Hamas attempted to imbue the wave of terror attacks with the character of an

activity sweeping the public into what it calls the “armed struggle” on a large scale. Hamas

even called the wave of terror an “intifada” or “the Al-Quds intifada.” In January 2017,

Hamas spokesman Hazem Qassem praised a vehicular attack that occurred in Jerusalem,

calling it proof that the Palestinian people has chosen the “resistance option” and that the

perpetrator had exercised his natural right to resist the occupation. According to Qassem, the

operation proved that the “Al-Quds Intifada” is not a passing phenomenon or a wave of




        18
             Hamas website, March 8, 2016. http://bit.ly/2hrk8KI


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popular anger but a Palestinian decision in favor of revolution until the end of occupation

(Al-Jihad website, January 8, 2017).19

       62.      Next, having found that the calls fell on responsive ears, Hamas made sure to

praise and glorify the attack, as well as call on potential terrorists to emulate the terror attacks

and proceed similarly in order to strengthen the wave of terror and murder. In June 2016,

after a terror attack cost the lives of four Israelis in Tel Aviv, Hamas spokesman Husam

Badran promised further “surprises” during the month of Ramadan: “The attack is the first

tidings from Ramadan to our people and to the brave resistance, and it is also the first

surprise among those awaiting the Zionist enemy during Ramadan. The heroic operation near

the Israeli Ministry of Defense is a severe blow to the prestige of the Israeli defense

establishment.” 20

       63.      The perpetration of terror attacks in emulation of other terrorists is another

characteristic of the wave of terror being surveyed here. Interrogations by the Israel Security

Agency as well as for example, the terrorists’ Facebook pages reveal a number of them

decided to carry out attacks imitating the terrorists who preceded them.

       64.      Calling on the public to mount attacks during the wave of terror, Hamas

encouraged terrorists, cast them as heroic role models, and embraced the attacks that its

activists perpetrated. In various Hamas publications, and in posters signed by Hamas, the

terrorist was termed “son of the movement” or “Qassami shahid” (a martyr of the Izz a-Din

al-Qassam Brigades) or, as it was the case in the Bridge of Strings attack, Hamas

organization named the terrorist “The Shahid of the Foundation” referring to the foundation

day of Hamas which the perpetrator chose to be the day of his attack. Hamas also made a


       19
             http://www.terrorism-info.org.il//Data/articles/Art_21130/E_010_17_2014417650.
pdf.
       20
             The quotation appeared on the Hamas website Palinfo.com, June 9, 2016.
http://bit.ly/2iU74Od.


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point of emphasizing the terrorists’ affiliation to the organization in a number of ways, such

as arranging terrorists’ funerals with Hamas activists attending, raising Hamas flags at the

terrorists’ homes, and sometimes also including the terrorists’ names in the list of Hamas

prisoners or shahids (martyrs).

       65.     When the terrorist was not identifiable as organizationally affiliated to Hamas,

his actions were praised and glorified with calls was to emulate them. Sometimes, when the

terrorist clearly belonged to a different organization, Hamas representatives proclaimed

appreciation of the man while mentioning his affiliation with the other organization. 21

       66.     Another aspect of the Hamas support for perpetrators of terror attacks, and for

families of terrorists, is the financial aid bestowed on the terrorist and on the terrorist’s family

after the attack. The aid is transferred secretly since it amounts to terror financing and the

Israeli security authorities constantly work against such use of funds and attempt to

confiscate them.

       67.     Despite efforts to conceal these money transfers and financial aid, the system

was exposed in the Israeli media after coordinated campaigns by the Israel Police, the Israel

Security Authority, and the Israel Defense Forces. Hundreds of thousands of shekels

transferred to terrorists and to their families on behalf of Hamas, were confiscated. The

money that was confiscated was intended for day-to-day expenses as well as for rebuilding

the homes of terrorists and of their families after demolition by Israel.22

       68.     In conclusion, alongside the customary Hamas system of wreaking terror,

including via the establishment of cells and their direct deployment by a responsible Hamas



       21
          See the Expert Opinion regarding Yehuda Glich. While the terrorist is an Islamic
Jihad member, the Hamas Paldf.net website explicitly posted the Islamic Jihad announcement
regarding responsibility for the attack.
       22
           http://www.ynet.co.il/articles/0,7340,L-4918313,00.html,           http://www.nrg.co.il/
online/1/ART2/893/025.html,


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headquarters or official, Hamas adopted (as did Islamic Jihad) a parallel system of operations

during the 2015–2016 wave of terror, deploying lone terrorists by publicly instructing its

operatives to mount attacks.

       69.     Those who answered the call and mounted attacks received praise from

Hamas. When the terrorists came from the Hamas ranks, Hamas emphasized their

organizational affiliation, thus claiming responsibility for the attack while simultaneously

encouraging others to continue mounting attacks to prevent the terror wave from fading.


                      DESCRIPTION OF BOROCHOV ATTACK

Overview23
       70.     On Friday, November 6, 2015, at approximately 4 p.m., two terrorists from a

Hamas cell,24 the brothers Akram Feisal Muhammad Badawi and Nasr Feisal Muhammad

Badawi, committed a shooting attack against Israeli citizens who were then present at the


       23
         The description of the terror attack is based on the following sources: The amended
indictment against Akram Feisal Muhammad Badawi, Prosecution File 1544/16. The verdict
in the case of Akram Badawi from November 12, 2017, Case 3002/16. The indictment
against Nasr Feisal Muhammad Badawi, Prosecution File 1379/16. The verdict in the case of
Nasr Badawi from November 17, 2017, Case 2551/16. A statement to the police by Akram
Badawi, from February 7, 2017, Police File 483748/015. Statements to the police by Nasr
Badawi, from January 19, 2017, from January 26, 2016, and from February 3, 2016, Police
File 483748/015. A statement to the police by Eli M. Borochov, from November 8, 2015.
Taken at Shaare Zedek Medical Center in Jerusalem. Police File 483748/015. Report by the
Israel Security Agency (ISA), https://www.shabak.gov.il/publications/Pages/NewItem
290216.aspx, media reports, inter alia https://www.calcalist.co.il/local/articles/0,7340,L-
3672861,00.html
       24
          The court convicted the two men of membership in the Hamas organization. See the
sentencing of Nasr Badawi, from November 17, 2017, Case 2551/16. He was convicted,
under a plea bargain, of being a “member and operative in a military cell on behalf of the
Hamas organization, which is an unauthorized association.” See also the sentencing of
Akram Badawi, from November 12, 2017, Case 3002/16. He was convicted, under a plea
bargain, of being “a member of a military cell on behalf of the Hamas organization, in or near
Hebron during the above period, which committed, together with his brother Nasr and with
Ata Abu Rumuz, shooting attacks against the security forces and against Israeli civilians.”


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courtyard of the Cave of the Patriarchs in Hebron.25 At the time that the terrorists opened fire,

a large contingent of Jewish worshippers had gathered in the courtyard of the Cave of the

Patriarchs and were waiting to enter the building for the special Sabbath prayer. 26

       71.     The terrorists used an SKS sniper carbine with telescopic sights, fitted with an

improvised silencer that the terrorists themselves had made in order to render the source of

fire difficult for the security forces to pinpoint. They fired from a window, which overlooked

the courtyard of the Cave of the Patriarchs, in a home that belonged to their father, Feisal

Muhammad Jum’ah Badawi (see below regarding him). The two men rested the rifle on the

window sill and as Nasr Badawi watched the courtyard of the Cave, Akram Badawi fired a

number of shots from the rifle, wounding the plaintiff in this case, Eli M. Borochov, and

another man named Micha Gedalia. Mr. Borochov was brought to Shaare Zedek Medical

Center in Jerusalem and treated there.

       72.     The cell members would conceal the sniper rifle, with which they committed a

relatively large number of shooting attacks and attempted attacks during that time, at the Al-

Mujahideen Mosque in Hebron. They would remove it from its hiding place a number of

hours in advance for a terror shooting, and then conceal it again at the mosque immediately



       25
           The Cave of the Patriarchs in Hebron (in Arabic, Al-Haram al-Ibrahimi) is a
religious site sacred to Judaism and to Islam, located in the eastern part of the city of Hebron.
In the cave, according to Jewish tradition, are the graves of Adam and Eve; of the patriarchs
of the Jewish nation, Abraham, Isaac, and Jacob, and of the matriarchs Sarah, Rebecca, and
Leah. Since 1967, the Cave of the Patriarchs has served as a prayer site for Jews and
Muslims, with a separation of prayer hours and prayer days and the various halls of the site.
       26
           The “Life of Sarah” Sabbath is the Sabbath on which the weekly Torah reading
includes the passage from Genesis that describes the purchase by Abraham of the Cave of the
Patriarchs. In recent years, that sabbath has been an occasion for thousands of Jews to make a
pilgrimage to the Cave of the Patriarchs for prayer there. On that sabbath, the rule is that
throngs of Jews may enter the place to pray and Muslims do not enter. (In the course of the
year, there are special dates called “prayer exceptions” when only Muslims may pray, or only
Jews, as befits the holidays and religious events of each religious community).


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after the attack. Their method in this case was the same. This practice of using the mosque (a

place of prayer that enjoys a certain immunity, since the security authorities seldom search or

even enter it) is familiar to us from the behavior of other Hamas cells.27

       73.     Nasr Badawi said in his statement to the police, with regard to the terror attack

in which Mr. Borochov was injured, that the purpose of the gunfire was to kill a Jew.28

Akram Badawi said in his statement to the police that the purpose of the shooting attacks

perpetrated by the Hamas cell was to murder and injure Israelis as revenge for the deaths of

the Palestinian shahids (people who die for the sake of Allah).29

       74.     The terror attack in which Mr. Borochov was injured belonged to a series of

shooting attacks by that Hamas cell. The cell’s terror attacks, since its founding in the last

quarter of 2014, continued until close to when its members were exposed and arrested at the

start of 2016. During the period of its activity, as will be seen below, the members of the

Hamas cell committed nearly twenty shooting attacks and planned to commit attacks along




       27
           For example, a senior Hamas operative in the area where he resided, Falah a-Nada,
confessed when interrogated that he had hidden from the security forces at a mosque in the
Ramallah area. Weapons have been found more than once in searches conducted by the
security forces at mosques that have been identified as Hamas strongholds. The Hamas cell
that murdered Rabbi Mark in July 2016 made a practice of passing messages by means of
notes hidden in a Hebron mosque. In 2008, an IDF force uncovered a weapons cache that was
hidden in a mosque in the Jebalia Refugee Camp. In 2003, a suicide bomber was prepared for
his mission at a Jerusalem mosque, and there he was even fitted with the explosive belt that,
when detonated, brought death to 23 people and injury to 115. Regarding the use made of
mosques by Hamas for terror purposes, see inter alia the report of March 1, 2009, from the
Meir Amit Intelligence and Terrorism Information Center. https://www.terrorism-
info.org.il/en/18308/
       28
         A statement to the police by Nasr Badawi, from January 19, 2016, sheet 3, Police
File 483748/2015.
       29
         A statement to the police by Akram Badawi, from February 7, 2016, sheet 4, Police
File 483748/2015.


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other lines (such as abducting a Jewish settler and obtaining anti-tank weapons in order to

commit a “quality” terror attack against military targets).


Overview of the Hamas cell
       75.       The Hamas cell that was responsible for, inter alia, the terror attack at the

courtyard of the Cave of the Patriarchs on November 6, 2015 was composed of four

members, who were convicted in court of membership in a terror cell of the Hamas

organization. The members of the cell were Nasr Badawi30 and Ata Abu Rumuz31 (founders

of the cell); Akram Badawi32, the brother of Nasr, who participated in many shooting attacks;

and the father of the brothers, Feisal Badawi33, who was a partner in planning the cell’s

operations and agreed to fund the purchase of weapons for it. In addition, the cell employed a

number of accomplices, particularly dealers in weapons and ammunition such as Maher

Badawi, a brother of Nasr and Akram. In at least one case, people who were not permanent

members of the terror cell were recruited into its operational activities. Following are

individual profiles of the cell members.


Individual profiles of the cell members
       76.       Nasr Badawi: Badawi, born in June 1992, was a resident of Hebron/Abu

Sneina neighborhood and married. Nasr has 11 brothers and 5 sisters. His father, Feisal

(profiled below), is married to two women. Nasr Badawi worked, until his arrest on January

9, 2016, at his father’s stone processing plant.

       77.       Nasr traded in weapons, and he was in contact with a number of dealers in

Hebron from whom he bought weapons and ammunition. In addition, he testified that he had


       30
            The verdict in the case of Nasr Badawi from November 17, 2017, Case 2551/16.
       31
            The verdict in the case of Ata Abu Rumuz from November 20, 2017, Case 3001/16.
       32
            The verdict in the case of Akram Badawi from November 12, 2017, Case 3002/16.
       33
            The verdict in the case of Feisal Badawi from April 4, 2017, Case 3027/16.


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fired various weapons a number of times. Nasr was trained in shooting and in caring for

weapons, and he had access to ammunition and weapons through his continual contacts with

weapons dealers.34

       78.       Even before Nasr Badawi founded the Hamas terror cell, he was involved in

violent activity against the IDF forces in Hebron, including the throwing of petrol bombs and

stones and clashing with security forces in the field. That was the situation at the end of 2008

and the start of 2009 (at the time that the IDF mounted Operation Cast Lead against Hamas in

Gaza). In 2009, Nasr Badawi was apprehended near the Cave of the Patriarchs while armed

with two knives, and he was indicted.35 Again, in the months of July and August 2014 (at the

time that the IDF mounted Operation Protective Edge against Hamas in Gaza), similar

activity continued against IDF forces.36 In the wake of this IDF operation, Nasr Badawi and

Ata Abu Rumuz decided to organize the Hamas terror cell (see below).

       79.       Nasr Badawi’s violent behavior targeted not only IDF soldiers but also a

Palestinian resident of Hebron with whom he had a personal dispute. In his statement to the

police, Nasr Badawi recounted that he had shot at the car of a Palestinian from Hebron

because of a personal/financial dispute. The Palestinian had caused a weapon to be turned

over from the Badawi family’s possession to the Palestinian preventive security apparatus.




       34
          Regarding the network of ties with weapons dealers, the shooting with the weapon,
and the concealment of the weapon, see Police File 483748/2015, Nasr Badawi’s statement to
the police from January 17, 2016, sheet 2, line 23; sheet 3, and sheet 4 to the end.
       35
            Indictment against Nasr Badawi, Prosecution File 3883/09, Judea Military Court.
       36
          Regarding his violent activity against the Israeli security forces in 2008 and in
2014, see Police File 483748/2015, statement of Nasr Badawi to the police from February 3,
2016.


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Nasr Badawi had demanded financial compensation in recompense, which was given only

after Nasr’s warning shot.37

        80.      According to Nasr Badawi’s words, his activity within the terror cell he had

founded was something that he hid from his wife, but from his behavior she could understand

that he was involved in terror activity. He habitually left his telephone and watch at home

each time he set out to commit a terror attack, and he did relate that he prepared his wife for

the possibility that he would die.38

        81.      Ata Sa’id Ya’qub Abu Rumuz: Rumuz, born December 1989, residing in

Hebron, single, a partner of Nasr Badawi in founding the Hamas cell that perpetrated the

terror attack which is central to this Expert Opinion. Arrested in the course of the capture of

the terrorist cell on September 9, 2016. Ata Abu Rumuz was sentenced to 11 years’

imprisonment39 for activity as part of that cell.

        82.      When he founded the Hamas cell in 2014, after the IDF’s Operation Protective

Edge, Ata Abu Rumuz had already been imprisoned after conviction on security-related

offenses.

        83.      In 2007, he was accused of possessing an explosive device and of attempting

(unsuccessfully) to persuade another person to throw that device at IDF forces in Hebron. 40

He was convicted in that case, under a plea bargain, only of attempting to lure another person

to cause the death of IDF soldiers. (The charge of holding military weaponry was deleted




        37
             Police File 483748/2015, Nasr Badawi’s statement to the police on January 26,
2016.
        38
             Police File 483748/2015, Nasr Badawi’s statement to the police from February 3,
2016.
        39
             The verdict in the case of Ata Abu Rumuz from November 20, 2017, Case 3001/16.
        40
             Case 2557/07, Indictment from April 1, 2007.


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under the bargain.) Ata received an active sentence of 18 months’ imprisonment plus 18

months suspended and a monetary fine.41

       84.       On March 15, 2011, Ata Abu Rumuz was indicted together with another

person for attacking Border Policemen who were performing a security check at the entrance

to the Cave of the Patriarchs in Hebron.42 From the indictment filed against him and from the

deliberations regarding the appeal that the defendants filed against the extension of their

arrest, there emerges a picture of violent resistance to arrest and of brutal behavior against the

policemen on the part of Ata Abu Rumuz. In court, Ata Abu Rumuz and his confederate in

the disorder attempted to claim that they are the ones who were attacked by the policemen, a

claim that was rejected by the court.

       85.       The Palestinian media (including various Hamas websites) mentioned another

arrest of Ata Abu Rumuz, from November 2012.43 An additional report of the arrest of a man

named Ata Abu Rumuz at an IDF roadblock in Hebron on November 6, 201544, is consistent

with Nasr Badawi’s statement to the police in which he explains why the cell did not succeed

in procuring an RPG launcher that it had planned to procure: “... but in the end we didn’t buy

the RPG and we didn’t buy weapons because Ata was arrested and the connection with the

man from the north was lost...”45

       86.       In addition to his arrests for action against public security and against the

security forces of Israel, Ata Abu Rumuz participated in violent activity that included


       41
            Case 2557/07, Verdict from September 5, 2007.
       42
         Cases 1982/11, 1981/11, Indictment from March 22, 2011, taken from Appeal Files
1521/11, 1520/11.
       43
          See https://www.paldf.net/forum/showthread.php?t=1057543&page=14; https://
gazaps.yoo7.com/t267-topic; https://tinyurl.com/pxhmhmde.
       44
        http://www.al-ayyam.ps/pdfs/2015/11/07/p02.pdf; http://www.alquds.com/articles/
1446787118656463400/
       45
            Nasr Badawi’s statement to the police from February 3, 2016, sheet 4, line 104.


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confrontations with IDF forces, stone-throwing, and throwing of petrol bombs in the years

2008 and 2014.46 He perpetrated that activity together with Nasr Badawi (see above), in

addition to activity that he organized on behalf of the Hamas organization (see below, in the

chapter on contacts with Hamas).

       87.       Akram Feisal Muhammad Badawi: Badawi, born February 1982, was

residing in the Hebron/Abu Sneina neighborhood. He is married and the father of four. He

worked at his father’s stone processing plant (until his arrest on January 20, 2016).

       88.       From his statement to the police, it emerges that he traded in weapons and in

weapon parts and manufactured improvised weapons. Akram is skilled in shooting and in

caring for weapons and had access to ammunition and weapons through continual contacts

with weapons dealers.47

       89.       Akram and his brother Nasr, who were involved, inter alia, in the wounding of

Eli M. Borochov, were sentenced to life imprisonment.

       90.       Feisal Muhammad Jum’ah Badawi: Badawi born January 1954, was

residing in the Hebron/Abu Sneina neighborhood, and married to two women and father of

12 sons and 5 daughters. Feisal has a plant for stone processing and owns a quarry in Hebron.

       91.       Feisal is the father of Akram and Nasr Badawi. He was a member of the

Hamas cell which his two sons belonged to. He was a partner to the operational plans of the

cell and promised to help fund the acquisition of weapons and ammunition for operations. He

was arrested on March 8, 2016, after the arrest of the cell’s other members. According to the




       46
            Nasr Badawi’s statement to the police from February 3, 2016, sheet 2, line 53.
       47
          Police File 483748 /2015 – statement of Akram Badawi to the police from February
7, 2016, in which he describes extensive trading in weaponry as well as a shooting that he
perpetrated and a shooting that he permitted his minor son to perpetrate (outside the
framework of the Hamas cell which he later joined). Sheet 5 line 132 to sheet 7, line 218.


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indictment against him48, he had weapons in his possession (an M16 and a Kalachnikov

assault rifle) during the years before the cell’s founding and he even sold and bought these

weapons. At the time the cell was founded, those weapons were no longer in his possession.


The Hamas organization’s responsibility for the terror attack
       92.     The Hamas organization, a cell of which perpetrated the terror attack in which

Eli M. Borochov was wounded, took responsibility for the terror attack, and identified the

perpetrators who belonged to the cell as Hamas operatives from its operational terrorist wing

the Izz a-Din al-Qassam Brigades. Below are details of the connection between the Hamas

organization and the cell from the following standpoints: the founding of the cell as a Hamas

cell, the pattern of the cell’s activities and the attempts to fund its operation as customary for

Hamas cells, the persistence of its members, the planning of operations along lines typical of

Hamas cells, the organizational affiliation of the cell members to Hamas and their activity

under Hamas before being recruited to the cell according to their statement, the identification

of the cell members who perpetrated the terror attack as Hamas members by the Israeli

security services, and the identification of the cell members who perpetrated the terror attack

as members of the operational terrorist wing of Hamas (the Izz a-Din al-Qassam Brigades) by

the Hamas organization in its own publications on websites and in publications identified

with the organization.


The founding of the Hamas cell
       93.     Roughly a week after the end of Operation Protective Edge49, the members of

the Hamas cell, Nasr Badawi and Ata Abu Rumuz, met and decided to form a Hamas terror

cell that would perpetrate shooting attacks against Israeli targets.50




       48
          Case 3027/16, Indictment against Feisal Badawi from March 27, 2016, amended by
plea bargain from April 4, 2017.


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       94.      In Badawi’s statement to the police, Badawi linked the decision with the

Hamas organization’s readiness to a ceasefire with Israel, which he interpreted as a period of

preparation for a further round of fighting against Israel — a round in which he wished to

participate by organizing the cell.51 In response to Nasr’s request, Ata Abu Rumuz agreed to

join the Hamas cell and was indeed one of its founders.52 According to Nasr Badawi’s

statements to the police, as well as according to the indictment against him, Nasr Badawi

approached his father Feisal for assistance in procuring weapons for the cell. The father

assented, but on condition that the weapons not be procured by his son. By this assent, the

father became a member of the Hamas cell, shortly after the cell’s founding; and he was




       49
          In Operation Protective Edge, Israel took action against terrorist infrastructures in
the Gaza Strip. The operation began on June 8, 2014 and was concluded on August 26, 2014.
Thus, the cell was founded early in September 2014.
       50
           See the indictment against Nasr Badawi in Prosecution File 1379/16, charge 16:
“During the above period (the week after Operation ‘Protective Edge’ in 2014) in Hebron ...
the accused approached Ata Abu Rumuz and spoke with him about the founding of a military
cell under the Hamas organization for the purpose of perpetrating shooting attacks against the
security forces. Ata assented to the suggestion of the accused. As part of the cell’s activity,
the two planned to perpetrate shooting attacks by means of the ‘Carlo’ submachine gun that
was in the possession of the accused, and to procure further weapons for the perpetration of
military operations.” See also the sentencing of Nasr Badawi, Judea Military Court, Case
2551/16, Military Prosecutor v. Nasr Feisal Muhammad Badawi, November 12, 2017:
Convicted April 4, 2017 of performing a service for an unauthorized association, of
membership and activity in an unauthorized association, of 12 crimes attendant to the attempt
to deliberately cause death, and more.
       51
            Police File 483748/2015, the statement of Nasr Badawi to the police from February
3, 2016.
       52
           The verdict and sentence in Case 3001/16, Ata Sa’id Ya’qub Abu Rumuz — See in
the verdict for Ata Abu Rumuz from November 20, 2017: “... In summer 2014 Nasr Badawi
approached him and suggested that he take part in founding a military cell that would be
associated with the Hamas organization and whose purpose would be to perpetrate shooting
attacks against the security forces. The defendant (Ata Abu Rumuz) assented. (Sentencing,
page 3, lines 17–20).


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indeed convicted, on the basis of his statement, of membership in a Hamas military cell.53

The fourth member of the Hamas cell was Nasr Badawi’s brother Akram, who participated in

carrying out the terror attack in which Mr. Borochov was wounded.54 According to Nasr

Badawi, he approached his brother Akram to recruit him to the call at the start of 2015. Nasr

asked Akram to obtain a sniper rifle for him, so that they could perpetrate a shooting and kill

Israelis. Akram assented and did obtain such a rifle.55


Financing of the cell’s operations
       95.      Upon the founding of the cell by Nasr Badawi and Ata Abu Rumuz in

September 2014, the question arose of how to fund its operations. Nasr Badawi and Ata Abu

Rumuz discussed possible sources of funding. The first requirement that came up 56 was

funding for the purchase of weapons with the declared purpose of attacking Israeli targets, or

otherwise obtaining weapons for that purpose. Ata Abu Rumuz suggested that they procure

an M16 (a long-barreled rifle more suitable for mid-range targets), and Nasr Badawi


       53
          Case 3027/16 against Feisal Badawi, sentencing from April 4, 2017, with his
conviction for membership in an unauthorized association on the basis of the third charge in
the indictment against him: “... while doing the above, the accused was a member and
operative in a military cell under the Hamas organization, which is an unauthorized
association.”
       54
           Amended indictment, in an open plea bargain, against Akram Badawi, Prosecution
File 1544/16, Police File 2794/16, charge 1: “... from the start of 2015... in Hebron... the
accused was a member of a military cell under the Hamas organization which perpetrated
shooting attacks against Israel’s civilian security forces, this together with Ata Abu Rumuz
and with his brother Nasr. As part of the cell’s operations, they planned to perpetrate shooting
(attacks), and to purchase further weapons in order to mount military action. The accused and
his confederates, under the aegis of the cell, committed shooting attacks as follows” ……
       55
          Statement of Nasr Badawi to the police, from February 3, 2016, sheet 5, lines 158–
164. Akram did obtain an improvised sniper rifle that was built around the barrel of an M16.
This is not the weapon that the cell used for the terror attack in which Mr. Borochov was
wounded.
       56
            Police File 483748/2015, the statement of Nasr Badawi to the police from February
3, 2016.


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approached his father with a request for funding of such a purchase. The father assented in

principle, on condition that the purchase be performed not by Nasr but rather by others. In

fact, according to Nasr, no such assistance was received from the father because the latter

conditioned the granting of the assistance on the conclusion of a land deal which in the end

did not come about.

       96.     Ata Abu Rumuz told Nasr Badawi at the start of 2015 that he, Ata, was in

contact with a man from Gaza and that he was trying to obtain a weapon or to obtain funding

for the purchase of weapons from that man. A week later, Ata reported that his contact had

asked him to burn the SIM card of the phone he had used.57 The contact’s identity was not

revealed in the material that was given for our inspection (The familiar pattern of operations

raises reasonable suspicion that Ata Abu Rumuz was indeed in contact with a military

operative of Hamas in Gaza who also advised him on caution lest the contact by revealed).58

       97.     The fact that the cell chose a pattern of operations including primarily

shooting attacks at Israeli targets, and in isolated cases even used explosive devices of their

own manufacture, along with the fact that the cell’s members and their families traded in

weapons and ammunition and specialized in building weapons and manufacturing improvised



       57
         Police File 483748/2015, Nasr Badawi’s statement to the police from February 3,
2016, sheet 3, lines 85–90.
       58
            To the best of my knowledge, Hamas headquarters in Gaza operated more than a
few cells of the organization inside Judea and Samaria. In this regard, see for example the
report from the Meir Amit Intelligence and Terror Information Center: https://www.
terrorism-info.org.il//Data/articles/Art_20852/H_128_15_632639130.pdf and the following
article: https://www.ynet.co.il/articles/0,7340,L-5566246,00.html.
        A prominent example of this phenomenon is the Gaza-controlled Hamas cell in
Hebron that kidnapped and murdered the three boys from Alon Shvut on June 12, 2014. It is
certainly possible that this murder served as encouragement for the formation of the Hamas
cell that injured the plaintiff, as the terrorists of both cells resided in the city of Hebron and
information about the kidnapping attack against the boys, and about their murder, was spread
and was known to all.


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explosive devices over the years — those facts were the solution to the problem of funding,

as weapons that the cell’s members had procured for illegal trading were what they used.

Thus, for example, the members of the cell used four different weapons over the period of the

cell’s activity, as they and their accomplices sold the weapons they had used and replaced

them with others.59 The arsenal, the ammunition, and the explosives at the cell’s disposal,

along with the skills of its members in the operation, maintenance, and construction of

improvised weapons, made external sources of funding unnecessary in practice and afforded

the Hamas cell flexibility in wreaking terror as long as it “merely” shot with light weapons

and threw explosive devices at Israeli targets. However, because of insufficient funding, the

cell failed in its plan to expand its operations to the procurement of powerful weapons such

as RPGs and a launcher for them, or to perpetrate a kidnapping.


The cell members’ connection with Hamas before their recruitment to the cell
       98.    Four members of the cell were convicted in court of membership in Hamas:

Nasr, Akram, and Feisal Badawi, and Ata Abu Rumuz. Regarding three of them, we possess

information that they were identified with Hamas a number of years before the cell was

founded and that they actively participated in activity under the organization’s aegis and in

activity supporting the Hamas organization.

       99.    Nasr Badawi confessed, in his statement to the police, that he had begun

supporting the Hamas movement as early as 2012: “I have supported the Hamas organization

since 2012, because Hamas is a courageous movement and its members are manly. For that

reason, I post pictures of Hamas flags on my Facebook page...” 60 From his statements to the




       59
          Police file 483748/2015, Akram Badawi’s statement to the police from September
7, 2016, sheets 4 to 6.
       60
         Police File 483748/2015, Nasr Badawi’s statement to the police from January 26,
2016, sheet 5, lines 143–144.


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police and the full indictment that was filed against him61, it emerges that from 2012 onward,

Nasr took part in a number of demonstrations and rallies in support of Hamas. In addition, he

travelled from Hebron to the Al-Aqsa Mosque in Jerusalem and there too joined illegal

marches of Hamas.62 The acquaintance between Nasr Badawi and Ata Abu Rumuz began

before the cell was founded, on the basis, inter alia, of a common background of support for

Hamas. Nasr Badawi recounted that he had assisted Ata Abu Rumuz in preparing a rally in

support of Hamas in 2014. That rally was instigated by Ata Abu Rumuz, and the two brothers

Nasr and Akram participated in preparations for it. The rally did not take place in the end,

because it was prevented by IDF forces.63

       100.   Akram Badawi’s links with the Hamas organization and his activity in the

organization began as early as 2006. According to his statement to the police, and according




       61
          Police File 483748/2015, Nasr Badawi’s statement to the police from February 3,
2016, sheet 3, line 63, and the indictment against Nasr Badawi, Prosecution File 1379 and
Police File 2794 – charge 10: Presence at a meeting of an unauthorized association: During
Operation Protective Edge, he participated in a Hamas meeting.
       62
          Police file 483748/2015, pp. 38–41, statement of Nasr Badawi to the police, from
January 17, 2016, sheet 7, line 199, in which he related that he was photographed with
Hamas flags in the background during his visit to Al-Aqsa. During identification of the
photos that were downloaded from his mobile phone, he said regarding the photo that was
presented to him: “A picture of me at the Al-Aqsa Mosque in Jerusalem, with Hamas flags
behind me.”
       63
          Indictment against Akram Badawi, Prosecution File 1544/16, Police File 2794/16,
sixth charge: Performing a service for an unauthorized association: In 2014, during Operation
‘Protective Edge’, “In Hebron... the defendant helped organize a rally on behalf of the Hamas
organization in Hebron. As part of organizing the rally, the defendant prepared Hamas flags
for hanging in the city’s streets.” In addition, Police File 483748/2015, Nasr Badawi’s
statement to the police from February 3, 2014, in which he told of his assistance to Ata Abu
Rumuz in organizing the rally and of the entry into the Abu Sneina neighborhood of the IDF,
which stopped the rally.


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to the indictment against him64, Akram Badawi participated in the Hamas campaign activity

for the Palestinian Legislative Council elections as a member of the polling station committee

on Hamas’ behalf, and he confessed that he had participated in campaigning and had hung

Hamas flags in Hebron. In addition, he participated in parades of support for Hamas in 2014

and even assisted Ata Abu Rumuz in preparations for a pro-Hamas rally (see above).

        101.       The statements of Nasr and Akram Badawi to the police, and the indictments

against them both, point to activity by Ata Abu Rumuz in support of Hamas before he joined

the cell.65

        102.       Examination of the past of three cell members, Nasr and Akram Badawi, and

Ata Abu Rumuz, indicates that even before the terror cell was founded, they engaged in

“popular” activity supporting Hamas: marching in parades, hanging flags, confronting the

army, helping Hamas in the 2006 elections, etc. The cell members followed a typical “path”

known to us from the activity of other Hamas cells. It starts by identifying with Hamas and

taking part in demonstrations, parades, and confrontations waged against IDF soldiers, and it

continues into armed terror.




         64
           Indictment against Akram Badawi, Prosecution File 1544/16, Police File 2794/16,
first charge: Performing a service for an unauthorized association: In 2006, “In Hebron... the
Defendant was responsible for a polling station on behalf of the Hamas organization in
Hebron. Furthermore, on the day of elections the defendant hung Hamas flags across the
city.” In addition, Police File 483748/2015, Akram Badawi’s statement to the police from
February 7, 2016: “.... I have supported the Hamas organization since 2006, and in 2006 I
participated in Hamas activity. I was responsible for a polling station at the elections on
behalf of Hamas... and on the day of elections, I put up Hamas flags... About a year ago, I
prepared flags for a Hamas march that was organized by Ata Abu Rumuz...”
        65
              I have not received Ata Abu Rumuz’ statement to the police.


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Activity of the Hamas cell
       103.    One of the characteristics of an organized terror cell is intensive, lengthy

terrorist activity made possible by orderliness and planning in the cell’s administration,

together with attention to requirements and risks.

       104.    Such was the administration of the Hamas cell that committed the terror attack

of November 6, 2015, in which Eli M. Borochov was injured. The cell was responsible for a

considerable number of shooting attacks between its founding in September 2014 and the

arrest of its members in early 2016. According to Nasr and Akram Badawi’s statements to the

police, and according to the indictments issued against the cell’s members, the cell committed

at least twenty shooting attacks against Israeli civilians and soldiers in the Hebron area. The

preferred targets were Israelis present in the vicinity of the Cave of the Patriarchs. The cell

(represented by various combinations of members) would aim there from two nearby

buildings: from the home of Feisal Badawi (the father of Nasr and Akram) and from the roof

of the home of Ata Abu Rumuz. Further shooting attacks by the cell were aimed at IDF

positions in Hebron from the roofs of buildings and from other commanding positions. In two

separate terror attacks committed on January 3, 2016, members of the cell shot and wounded

a female soldier in the courtyard of the Cave of the Patriarchs and a male soldier at an IDF

position in Hebron.

       105.    Akram Badawi directly linked the first terror attack that he committed to the

anniversary of the founding of Hamas, and he recounted: “With the approach of the

anniversary of the founding of the Hamas honor movement, quiet descended on the place and

the soldiers at the roadblock were joking and laughing... A single gunshot from 600 meters

away, and a uniformed soldier fell to the ground…”66



       66
            The description is provided by Akram, possibly by way of an interviewing
journalist, at this site: https://tinyurl.com/vzs4pc7p. December 9 was the day that the first


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       106.      The cell committed a particularly complicated and unusual terror attack in

December 2015. Nasr Badawi, together with two others — Muhammad Abu Rumuz and

Musa Taha — planned and perpetrated a multiple terror attack that included throwing

explosive devices and shooting at an IDF position. Nasr Badawi’s plan was to throw an

explosive device at the position and thus draw the soldiers out in a chase after the throwers

into the nearby neighborhood and into an ambush. That attack did not succeed, because the

soldiers did not come out to pursue the throwers of the explosive device.67

       107.      The multiplicity of terror attacks during the year of the cell’s existence, and

their frequency, along with the desire to raise their level and quality — examples include the

attempt at a multiple terror attack as described above, and planned attacks to be described

later — show the cell’s determination to attack as many Israeli targets as possible and to

cause losses among Israeli civilians and soldiers.68

       108.      The cell members’ statements to the police, the indictments, and the verdicts

show their determination to kill as many Jews as possible. The verdict for Nasr and Akram

Badawi dealt, inter alia, with the prosecution’s request to imprison the two for life, although

people were not killed in any of the attacks. That heavy punishment is generally imposed on


intifada broke out. According to the Hamas narrative, it was on the same day, in 1987, that
the organization’s founder Sheikh Ahmad Yassin assembled seven leaders of the Muslim
Brotherhood in the Gaza Strip and decided to establish the Hamas organization. On
December 14, the organization that they established published its first public announcement,
and that day is considered the day of Hamas’ founding. Those two dates, and the weeks
surrounding them, have served as target dates for the perpetration of terror attacks by Hamas
operatives and by the terror cells of the organization.
       67
            Nasr Badawi’s indictment, Prosecution File 1379/16, charge 24.
       68
           Nasr Badawi explained the multiple attack as follows, in his statement to the police
from January 26, 2016: The intent was to kill four to six soldiers, because by his experience,
as soon as an explosive device was thrown at that position, 4 to 6 soldiers emerged to comb
the area for the throwers. Asked why he did not fire at the position, Nasr explained that a
gunshot would have wounded one soldier at most. “... I wanted to execute a high-level,
quality attack and kill the maximum number of soldiers.”


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those who have committed actual murder. In their verdict, from November 12, 2017, the

president of the military court of Judea, Menachem Lieberman, wrote: “The defendant used

lethal standard-issue weapons for the purpose of dealing death to Jews. The defendant used a

sniper rifle with a telescopic sight, a weapon which by its nature is intended to afford

maximum accuracy, and as a result, to kill. In addition, the defendant attempted at length to

commit mass murder, in a large number of attempts which repeated themselves, as emerges

from the facts of the indictment as summarized in the plea bargain. The deeds of the

defendant were committed consistently in order to bring harm to specific sectors: soldiers,

members of the security forces, and particularly Jewish civilians69...” These words are

consistent with the remarks of the cell members in their statements to the police, in which

they expressed their determination to murder as many Jews as they could.70

       109.    The degree of danger from the operations of the Hamas cell, and the degree of

its members’ determination to cause injury and damage, is evident in the planning of the two

terror attacks that, luckily, it did not manage to execute.

       110.    In or around April/May 2015, Ata Abu Rumuz contacted someone who

offered to sell an RPG anti-tank launcher to the cell together with ten compatible grenades.

Feisal Badawi, the father of Nasr and Akram, expressed readiness to fund the purchase, to the


       69
          This phrasing appears in the sentencing of Nasr Badawi, Case 2551/16, hearing and
decision, clause c, from November 12, 2017, and in the sentencing of Akram Badawi, Case
3002/16, hearing and decision, clause c, from November 12, 2017.
       70
           Police File 483748/2015, Nasr Badawi’s statement to the police from February 3,
2016 (sheet 10, lines 321–322) in which he said, in response to a question from the
investigator regarding the terror attacks that the cell had perpetrated: “The purpose was to
harm Israeli civilians and soldiers and kill them.” In the same statement to the police, Badawi
said that he had forestalled an attempt by Ata Abu Rumuz, his confederate in the cell, to
perpetrate a stabbing attack against Israeli soldiers in November 2015. Nasr’s reason was that
he wished to commit “higher-quality attacks.” Akram Badawi said in his statement to the
police from February 7, 2016, that the purpose of the shooting had been to kill and injure
Israelis in revenge for the death of Palestinian shahids.


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amount of fifteen thousand Jordanian dinars (roughly twenty thousand dollars at that time).

For technical reasons, the deal was not concluded. The possession of such weaponry could

have enabled a Hamas cell to cause extremely severe harm, and the cell members who were

party to the planning saw great importance in seizing such an opportunity.71

       111.    The cell planned an additional attack in Spring 2015. According to Nasr

Badawi’s statement to the police, Ata Abu Rumuz suggested kidnapping a Jew from the

Etzion area in the Bethlehem district, in order to attempt to have Palestinian prisoners

released in return. Akram Badawi, who heard of the plan, suggested hiding the kidnap victim

in the family’s quarry, where he would prepare a pit for concealing the victim. According to

Nasr Badawi, the reason the attack did not come about was that the operation required the

purchase of a “legal” vehicle for the kidnapping and there was no funding for such a

purchase.72 A kidnapping attack against an Israeli for the purpose of negotiating freedom for

prisoners is very typical of a Hamas cell73, and known well to me from the operations of

other Hamas cells who have seen such attacks as top-priority objectives.

       112.    The tenacity described above, the planning of attacks, and the great quantity of

attacks are very typical of terror cells belonging to the operational terror wing of Hamas, and

they are known to us from analysis of Hamas cells’ operations in other attacks.




       71
          Police File 483748/2015, Nasr Badawi’s statement to the police from February 3,
2015, where Nasr recounts that his father was prepared to make every effort to procure the
weapon since he saw in its use a deed that would cause an “earthquake”, while Nasr himself
saw in the RPG a “strategic weapon that will change the regional balance.”
       72
         Regarding the planning for the kidnapping attack, see Police File 483748/2015,
Nasr Badawi’s statement to the police from February 3, 2016.
       73
          See for example the kidnapping of three boys from the Alon Shvut junction and
their murder, an event of June 12, 2014. That event was planned for the purpose of
negotiating the release of Palestinian prisoners.


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Identification by Hamas of the cell members as members of the organization
       113.      On September 28, 2016, the Israel Security Agency (ISA) exposed the arrest

of the brothers Nasr and Akram Badawi, their responsibility for the sniper attack in Hebron,

and their identity as Hamas operatives.74 A day later, official Hamas websites, forums

associated with Hamas, and the official website of the operational terrorist wing of Hamas,

the Izz a-Din al-Qassam Brigades, announced75 the arrest of the brothers Nasr and Akram

Badawi.76 Ata Abu Rumuz’s status as a prisoner from Hamas, included in the list of inmates

from Hamas in Israeli prisons, was announced by Hamas websites after his sentencing.77

       114.      The delay from Hamas in acknowledging the terrorist as one of the

organization’s operatives, lasting until sentencing and sometimes even longer, is a known and

semi-official practice of Hamas, intended to protect the terrorist from a more severe

sentencing and from the exposure of further recruits who have not yet been captured.

       115.      On February 29, the Hamas-affiliated Paldf web forum tweeted on its Twitter

account a poster typical of the Hamas organization, with the words: “The Qassami brothers

[that is, members of the Hamas operational terrorist wing, the Izz a-Din al-Qassam Brigades]

Nasr and Akram Badawi, carried out a number of sniper attacks against soldiers and settlers

during the Al-Aqsa Intifada.” At the bottom of the poster, the following was written, inter




       74
         See the report of September 28 from the Israel Security Agency (ISA), at its official
website (Hebrew): https://www.shabak.gov.il/publications/Pages/NewItem290216.aspx
       75
          See the item on the official website of the Izz a-Din al-Qassam Brigades: https://
www.alqassam.net/arabic/news/details/9567 and see the reports on the websites and forums
identified with Hamas regarding the arrest: https://tinyurl.com/88ychph4; and see
https://www.paldf.net/forum/showthread.php?t=1183820&page=14&styleid=15
       76
            For Akram Badawi as one of the prisoners from the organization see:
https://tinyurl.com/4e4vk33s. For Nasr Badawi as one of the prisoners from the organization,
see: https://tinyurl.com/3db2333s
       77
            https://tinyurl.com/ps48z9fu; See Exhibit B attached hereto.


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alia: “The two are fighters of the Islamic Resistance Movement (Hamas) in the city of

Hebron. “78

        116.      From reading the official websites of Hamas and of its operational terrorist

wing the Izz a-Din al-Qassam Brigades, a picture emerges that shows a clear public embrace

of the organization’s responsibility for the attacks that the cell perpetrated, as well as

identifying the perpetrators as Hamas operatives. The fact that all three central members of

the cell appear on the list of prisoners from the organization as published on the Hamas and

Izz al-Din al-Qassam Brigades websites confirms their organizational affiliation and the

acknowledgement that the attacks perpetrated by the cell, including the attack in which Eli

M. Borochov was wounded, were indeed perpetrated by a cell of the Hamas organization, on

its behalf, and by its authority.


                              SUMMARY AND CONCLUSIONS
        117.      On the basis of what is written in the Expert Opinion that I have submitted in

the matter of the wounding of Eli M. Borochov in a shooting attack on November 6, 2015, I

conclude that:

              •   The shooting attack in which Eli M. Borochov was wounded was a terror
                  attack planned and executed by two members of a Hamas cell, the brothers
                  Nasr and Akram Badawi, as part of the intensive and planned-out terror
                  activity of that cell, a cell founded in September 2014 and active until the
                  arrest of its members by security forces in Israel in January 2016;
              •   The cell members, including the two terrorists who wounded Eli M.
                  Borochov, were convicted in an Israeli court, on the basis of their statements,
                  of membership in the Hamas organization, of establishing a Hamas terror cell
                  and of perpetrating a large number of shooting attacks (including the attack
                  that forms the basis of this suit) with the purpose of killing as many Jews as
                  possible. The two cell members who wounded Eli M. Borochov were
                  sentenced to life imprisonment, as the court was convinced that only by luck
                  did Eli M. Borochov and the others remain alive, merely wounded by the cell,
                  while the cell members had been determined to murder them;


        78
             https://twitter.com/paldf/status/704359544261107713


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            •   The Hamas cell members who wounded Eli M. Borochov were Hamas
                operatives working under the organization for years before they decided to
                make the transition to terror activity. Within the organization, that process is a
                typical development;
            •   The Hamas organization publicly acknowledged (on websites recognized as
                official websites of the organization, and on others identified with the
                organization) the fact that the members of the terror cell that perpetrated the
                shooting attacks were operatives of the operational terrorist wing of Hamas,
                the Izz a-Din al-Qassam Brigades, and thus the organization demonstrably
                took responsibility for the shooting attacks that the cell perpetrated, including
                the attack that wounded Eli M. Borochov. The cell members who were
                captured and tried appear in the list of prisoners from the Hamas organization
                who are in Israeli prisons, a list published on the organization's official
                websites. That fact too confirms their organizational affiliation to Hamas
            •   The Israel Security Service (ISA) also determined, according to an official
                document of its own, that this cell was a Hamas cell and that .its members
                were operatives of the organization

       118.     On the basis of all the above, I conclude that Eli M. Borochov was wounded

as a result of gunfire from members of the operational terrorist wing of Hamas, the Izz a-Din

al-Qassam Brigades, who operated as part of a cell of the Hamas organization.


                        DESCRIPTION OF THE GOLAN ATTACK
       119.     On December 14, 2015, the 28th anniversary of the founding of Hamas,79

slightly before 3:00 p.m., terrorist Abd al-Muhsin Shaher Hasouna rammed fourteen people

who were waiting at a bus station near the main western entrance to the city of Jerusalem,




       79
          According to its own account, Hamas was founded by Sheikh Ahmad Yassin in
Gaza on December 14, 1987. The anniversary was chosen, apparently not at random but for
symbolism’s sake, for the terror attack, thus serving to indicate that the terrorist was a Hamas
operative. Over the years, Hamas has intentionally perpetrated a number of terror attacks on
this same date — for example, the stabbing attack in Jaffa on December 14, 1990, and the
attack with two car bombs in Gaza on December 14, 1993.


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near the Bridge of Strings. The terrorist was killed by a passerby who noticed the attack and

who, with his personal weapon, managed to shoot the terrorist. 80

       120.    In the car, near the terrorist, a green-painted axe81 was found which the

terrorist had apparently prepared for the purpose of a multiphase attack: first vehicular

ramming, and then alighting from the vehicle and trying to kill and injure passersby with the

axe.82 The terrorist’s intention to use this axe in order to complete his attack can be

understood from the descriptions of eyewitnesses, who reported that the terrorist was found

killed in the driver’s compartment with his hand extended toward the axe.83 The man who




       80
           See the testimony of the passerby who killed the terrorist (Mr. Bernstein) in the
terror attack’s police file of incident details, 539423/2015 pp. 17-18.
       81
          A photograph taken of the axe by the Israel Police appeared on the Arabic-language
news website “Shouf” on December 14, 2015, under the headline “14 Wounded in Vehicular
Attack (in the original, “Operation”) by Abd al-Muhsin Hasouna”: www.shof.co.il/?
mod=articles&ID=20056. Each of the Palestinian terror organizations is associated with a
color — black for Islamic Jihad, red for the Popular Front for the Liberation of Palestine, etc.
The color green — mentioned in the Quran (Surat al-Insan, verse 21) as the color of the
Muslims’ clothes in the Paradise — was used by ancient Islamic rulers and is associated
today with Hamas. The flag of Hamas is green, and Hamas operatives’ headbands are green.
As will be shown later, the terrorist took care to attach symbols of Hamas to the terror attack.
       82
          Multiphase terror attacks, with a vehicular ramming followed by exit from the
vehicle and an attempt to attack people using a non-firearm weapon, characterized the wave
of terror that beset Israel in 2014–2015, and they continued into the recent period. For
example, on October 13, 2015 (roughly two months before the attack discussed in this Expert
Opinion), terrorist Alaa Abu Jamal, from Jabel al-Mukabbar in Jerusalem, perpetrated such
an attack killing one man and injuring others; on December 6 (a few days before the attack
discussed in this Expert Opinion) a ramming and stabbing attack was perpetrated by a
Jerusalem resident in which a number of people were wounded; and attacks with ramming
and stabbing were also perpetrated at Gush Etzion Junction on November 17, 2017, and at
Kochav Yaakov on January 25, 2017.
       83
          See the report by police officer Oz Refael, who arrived on the scene of the incident
together with his colleagues. They discerned a “man who was sitting inside the vehicle, in the
driver’s seat, with his face lowered toward the adjacent seat and his hand stretched out
toward an axe…” — the police file of terror attack incident details, 539423/2015, p. 16.


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shot the terrorist testified that the terrorist tried to exit the vehicle. Apparently, he did so in

order to complete the attack as he had planned.

       121.    From the attack’s investigation by the security forces, it emerges that the

terrorist, Abd al-Muhsin Shaher Abd al-Muhsin Hasouna from the Al-Husseini clan, a

bachelor of 21 or so and a carpenter by trade, was a resident of the Beit Hanina84

neighborhood of Jerusalem but was living in Hebron in the period before the terror attack.85

From Hebron, he apparently reached Jerusalem, for the attack,86 in a vehicle with Israeli

license plates, driving from the city’s southern entrance and crossing the city from south to

north (which he could do relatively easily, being a resident of Jerusalem and bearer of a blue

Israeli ID card driving in an Israeli-licensed vehicle).87

       122.    The terrorist reached the destination he had chosen, a central Jerusalem spot

crowded with people and particularly so during rush hour. He found a bus stop where many


       84
           The terrorist’s personal details have been taken in part from the form, in the above
police file, for the cadaver’s transfer to the National Center of Forensic Medicine: Abd al-
Muhsin Shaher Hasouna, citizen of Israel, pp. 1–2. Note also that his name appears as
number 122 in a list naming the terrorists who committed attacks during the wave of
Palestinian terror, headed “Detailed study of the Al-Quds Intifada martyrs,” on the PALDF
online forum (which is identified with Hamas). www.paldf.net/forum/showthread.
php?t=1191506.
       85
           It appears that the family’s life was in fact based in Hebron, since the mourning tent
for the terrorist was set up there.
       86
            The Walla news site: “The terrorist left Hebron for the vehicular attack in
Jerusalem,” Yossi Eli and Moshe Steinmetz, December 15, 2015, https://news.walla.
co.il/item/2915680, as well as the following: News of terrorism and the Israeli-Palestinian
conflict (December 9- 15 2015), Intelligence and Terrorism Information Center at the Israel
Intelligence Heritage and Commemoration Center, December 15, 2015: www.terrorism-
info.org.il/en/20923/
       87
           At the entrances to Jerusalem, because of wariness regarding possible terror attacks,
there is a relatively strict security check of Palestinian people and vehicles wishing to enter
the territory of the State of Israel. The terrorist’s smooth entry into Israeli territory, and his
unhampered movement inside Jerusalem, were apparently made possible by the Israeli
documents identifying him and his vehicle.


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people were waiting, then accelerated, and sped with force onto the waiting area, injuring the

passengers who were waiting for public transportation (including a baby in a carriage, who

was severely injured in this attack). From testimony of the passengers at the station, it

emerges that the attack occurred very quickly and that they realized what had happened only

after the attack was carried out. Traffic examiners from the Israel Police found that the road

showed no signs of braking by the vehicle,88 indicating that this was a preplanned attack

intended to hit as many people as possible and to cause death and injury to as many chance

victims as possible by running them over.


Preparing the attack
       123.    The terrorist’s behavior and statements before the attack, indicate prior

planning for the perpetration of a terror attack, in which he believed, he would be killed as a

shahid [a shahid is a man, who dies for the sake of Allah]. The terrorist’s preparations for the

attack and his suggestive statements, described principally in accounts by the terrorist’s

mother to various news media, were of an Islamic religious character carrying the doctrine of

Islamist terrorist organizations such as Hamas.

       124.    Shortly before the terror attack, the terrorist hinted by word and deed,

according to his mother,89 of his intention to carry out a suicide attack. Thus, the day before

the attack, he spoke90 of his desire to attain paradise; and on the day of the attack, before

leaving, he visited the mosque where he prayed, and there he distributed candies and

indicated that he did so to celebrate his “marriage engagement.” Death in the cause of

       88
         The traffic examiner’s report in the police file of incident details for the attack,
539423/2015, pp. 11–14.
       89
         Quoted in a September 8, 2016, article on the Maan news agency’s website, which
reported the terrorist’s funeral in Jerusalem: https://www.maannews.net/Content.
aspx?id=866077
       90
            On the Safa website, an article from February 1, 2016: https://tinyurl.com/
uzd383t6.


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religion is considered a marriage engagement according to terrorists from the fundamentalist

Islamic organizations (Hamas, Islamic Jihad, et al.), since they believe that black-eyed girls

are waiting in Paradise to marry the pious shahid.91 The distribution of candies and the

announcement of an engagement before the attack have characterized other terrorist attackers

as well. The mother further recounted that a number of days before the attack, he told her that

he dreamt he was meeting his grandfather, his grandmother, and other people who had

already passed on.92 Another clear hint of the terrorist’s intent to commit a terror attack, and

to die doing so, is in the terrorist’s words to his mother. The night before the attack, he told

her that he intended to intercede for her into Paradise.93




       91
           The Quran teaches that upon his arrival in Paradise, the Muslim believer will marry
black-eyed women who have awaited him (Surat ad-Dukhan, verse 54). Thus, the terrorist
intending to die as a shahid plans in advance for his wedding in the afterlife and celebrates
the prelude — that is, the engagement — before setting off for the attack. That belief, based
on the importance of the shahid’s deed as witnessing to the existence and the oneness of
Allah, is very widespread among Muslims in general and among perpetrators of terror attacks
in particular.
       92
           In this connection, a belief exists that a person who ascends to Paradise will meet
his relatives there. Thus, for example the terrorist Muhammed al-Harub, also a Hamas
operative, who perpetrated the attack at Gush Etzion Junction on November 19, 2015, wrote
in the will he left that he hoped to meet his relatives in Paradise.
       93
            https://www.maannews.net/Content.aspx?id=866077
        According to Muslim belief, a martyr can recommend the entry of seventy family
members into Paradise. This belief is widely expressed in the wills of many suicide terrorists
and, after their death, in the words of relatives. It is based on a saying attributed to Prophet
Muhammad: “The intercession of a martyr will be accepted for seventy members of his
family.” https://sunnah.com/abudawud/15 “How the Advent of Suicide Attacks Put Hamas
on the Map and Re-branded Islam”, an interview with Prof. Meir Hatina, the head of the
Department of Islamic and Middle Eastern Studies, Hebrew University of Jerusalem.
https://www.haaretz.com/israel-news/.premium-how-the-advent-of-suicide-attacks-put-hamas
-on-the-map-1.5423684


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        125.     The choice of a symbolically significant date for the attack — December 14,

2015, being the 28th anniversary of the founding of Hamas — also indicates prior planning

of the attack.

        126.     In the police file for the terror attack, testimonies from the interrogation of

passersby and policemen indicate prior planning of the attack’s logistics. An axe, painted

green (a color associated with Hamas), was found in the terrorist’s vehicle and apparently the

terrorist intended to use that axe for killing and wounding as many passersby as he could,

after he perpetrated the ramming. On the website describing the attack, a comparison to a

similar scenario, involving another terrorist, is drawn (see above). In the event, Hasouna was

shot and killed before he managed to complete his malevolent plan.

        127.     Analysis of the terrorist’s words and deeds as the attack impended, and of his

logistical preparations and choice of a symbolic date for committing the attack, show prior

planning of this terror attack.


The connection to Hamas
        128.     On the morning of December 15, 2015, the day after the attack, Hamas lauded

it with an article glorifying and praising the terrorist’s deed of heroism but it did not

explicitly note his organizational affiliation.94 This Hamas publication termed the attack’s

victims “settlers.”95 The same day, a Hamas online forum (PALDF) published a poster


        94
           The article appeared on the Hamas website that serves to display the organization’s
official releases: https://tinyurl.com/4heuebjr.
        95
            Hamas, which supported the terror attack, termed the civilians injured in it
“settlers.” This term generally refers to Jewish Israelis who live in the West Bank. The
application of the term to residents of the State of Israel proper is intended to detract from the
legitimacy of those Israeli citizens and, in practice, from the State of Israel’s right to exist.
Hamas extends the term to include those residing anywhere in the State of Israel — in this
case, in western Jerusalem — and thus it incites harm to all Israeli citizens irrespective of
where they reside. News of terrorism and the Israeli-Palestinian conflict (December 9–15,
2015), Intelligence and Terrorism Information Center at the Israel Intelligence Heritage and


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declaring Hasouna, the terrorist who committed the attack: a son of the Hamas movement,

which is to say a Hamas operative.96 A day earlier, the same forum reported on the terror

attack, with details about the terrorist but without claiming responsibility.97 This behavior —

postponing the claim of responsibility until details relating to the terror attack became clear,

while taking time to examine whether a claim of responsibility might not harm the interests

of the organization, the terrorist, or his relatives — typifies the organizational behavior of

Hamas with respect to claiming responsibility for terror attacks, especially during the waves

of terror attacks that have beset Israel.98

        129.     Hamas in the Hebron area also called the terrorist, in a poster displayed

publicly, a “shahid of the Hamas movement,” which is to say he was an operative of Hamas

who was carrying out an operation on the organization’s behalf when killed.99

        130.     The Hamas radio station Al-Aqsa Voice noted100 in a poster published on its

website on December 16, 2015, the link between the terrorist’s Hamas affiliation and the


Commemoration Center, December 15, 2015: www.terrorism-info.org.il//Data/articles/
Art_20923/E_226_15_341310105.pdf.
        96
          See Facebook page of PALDF, mentioned in “News of Terrorism and the Israeli-
Palestinian Conflict December 9 - 15, 2015”, The Meir Amit Intelligence and Terrorism
Information Center: http://www.terrorism-info.org.il//Data/articles/Art_20923/E_226_15_
341310105.pdf.
       Other media, unconnected to Hamas (the Voice of Israel website and Times of Israel
website) reported that Hamas announced that the terrorist was one of its operatives.
      https://web.archive.org/web/20151216143954/http://www.iba.org.il/bet/?entity=1133
975&type=1
        https://tinyurl.com/rrfc8w2
        97
               http://www.terrorism-info.org.il//Data/articles/Art_20923/E_226_15_341310105.
pdf
        98
          Regarding the Hamas policy on claiming responsibility, see the general chapter
discussing that topic.
        99
         A tweet from the PALDF forum of Hamas: https://twitter.com/paldf/status/
676529360023736322


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December 14 date of the terror attack (the anniversary of the founding of Hamas). In this

poster, the terrorist Abd al-Muhsin Hasouna is termed shahid al-Intilaqa, Arabic for “Shahid

of the day of founding” or “Shahid of the bursting (of Hamas) into the air of the world.” The

poster thus indicates the symbolism in selecting the founding date of Hamas as the date for

the terror attack.101 This poster shows a picture of the terrorist with a Palestinian flag and a

green Hamas flag above him. The same site also refers to the Shahid Hasouna as “one of the

sons of the Islamic resistance movement Hamas, whose heroic operation, carried out on the

28th anniversary of the founding of the resistance movement, has ensured the continuation of

the tradition of resistance, and of actions that the movement has adopted since its founding.”

The organization to which the shahid belongs “conveyed the message of the resistance and of

the Hamas movement on the anniversary of its founding, according to which the response in

the face of the occupation’s crimes will continue as long as Palestinian land is occupied.”

       131.    As noted above, the presence of the green-painted axe alongside the terrorist

(this being the axe which he intended as the murder weapon), evidence of his organizational

affiliation to Hamas insofar as the color green is a prominent Hamas symbol, further

strengthens the identification of the terrorist as someone operating on behalf of Hamas.


                            CONCLUSIONS AND SUMMARY
       132.    On the basis of the content in the Expert Opinion I have presented regarding

the ramming attack committed by terrorist Abd al-Muhsin Hasouna, which injured 14 people




       100
           Hamas’ radio station, Al-Aqsa Voice, published the poster on its website in
commemoration of the 28th anniversary of its founding. A copy of the poster’s image is
attached hereto as Exhibit C.
       101
          Regarding December 14, 1987, as the day Hamas was founded, see for example
the following sites, which are known to be Hamas sites: https://www.paldf.net/forum/
showthread.php?t=924163; https://tinyurl.com/ysj3755e. Those sites describe the day of the
founding of Hamas in the same terminology as mentioned above.


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